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                                    Pipe Document
                                         Hitter Foundation403-3    Filed 05/15/24
                                                           (@pipe_hitter_foundation)         Page
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                                                                                                 photos and2videos
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                                                    529 posts      52.3K
                                                                       K followers        30 following

                                                    Pipe Hitter Foundation
                                                    Nonprofit organization
                                                    Gallagher Family Nonprofit~ OUR MISSION: SERVE THOSE WHO SERVE US.
                                                    PHF is committed to defending the rights & freedoms of our men & women
                                                    in uniform
                                                       linktr.ee/pipehitt
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